 Case 17-11697       Doc 245    Filed 03/17/20 Entered 03/18/20 06:37:50              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                         )                BK No.: 17-11697
ARTHUR B. ADLER & ASSOCIATES,                  )
LTD.                                           )                Chapter: 7
                                               )
                                                                Honorable Jack Schmetterer
                                               )
                                               )
                Debtor(s)                      )
          ORDER APPROVING FIRST & FINAL APPLICATION FOR ALLOWANCE
                   OF COMPENSATION & REIMBURSEMENT OF EXPENSES
             TO BAUCH & MICHAELS, LLC d/b/a LAKELAW, SPECIAL COUNSEL
                                           FOR THE TRUSTEE
        Upon consideration of the application (the “Application”) of the law firm of Bauch & Michaels,
LLC d/b/a Lakelaw (“Lakelaw”) requesting the entry of an order pursuant to 11 U.S.C. §§ 330, 331 and
507(a) for the allowance and payment of $44,067.50 in final compensation for 130.0 hours of
professional services rendered, and the reimbursement of $245.66 in costs incurred incidental to those
services, to David P. Leibowitz (“Trustee”) between February 1, 2019 through February 18, 2020 (the
“Application Period”); due and proper notice of the Application having been provided; it appearing that
there is good cause to grant the relief requested; and there being no objection to the relief requested, IT
IS HEREBY ORDERED:

   1. Lakelaw is allowed $44,067.50 in compensation for the Application Period, which shall be deemed
to be a final award.
2. Lakelaw is allowed $245.66 in expense reimbursement for the Application Period.
3. The Trustee is authorized and directed to pay Lakelaw the allowed final compensation and expense
reimbursement.


                                                           Enter:


                                                                    Honorable Jack B. Schmetterer
Dated: March 17, 2020                                               United States Bankruptcy Judge

 Prepared by:
 Paul M. Bauch (ARDC # 6196619)
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